              Case 2:18-cv-00928-MJP Document 150 Filed 07/03/19 Page 1 of 3



                                                                The Honorable Marsha J. Pechman
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
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     YOLANY PADILLA, IBIS GUZMAN, BLANCA
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     ORANTES, BALTAZAR VASQUEZ,                                    No. 2:18-cv-928 MJP
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                                      Plaintiffs-Petitioners,
13           v.                                                    DEFENDANTS’ NOTICE
                                                                   OF APPEAL
14
     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
15   (“ICE”); U.S. DEPARTMENT OF HOMELAND
     SECURITY (“DHS”); U.S. CUSTOMS AND BORDER
16   PROTECTION (“CBP”); U.S. CITIZENSHIP AND
     IMMIGRATION SERVICES (“USCIS”); EXECUTIVE
17
     OFFICE FOR IMMIGRATION REVIEW (“EOIR”);
18   THOMAS HOMAN, Acting Director of ICE; KIRSTJEN
     NIELSEN, Secretary of DHS; KEVIN K. McALEENAN,
19   Acting Commissioner of CBP; L. FRANCIS CISSNA,
     Director of USCIS; MARC J. MOORE, Seattle Field Office
20
     Director, ICE, WILLIAM BARR, United States Attorney
21   General; LOWELL CLARK, warden of the Northwest
     Detention Center in Tacoma, Washington; CHARLES
22   INGRAM, warden of the Federal Detention Center in
     SeaTac, Washington; DAVID SHINN, warden of the
23
     Federal Correctional Institute in Victorville, California;
24   JAMES JANECKA, warden of the Adelanto Detention
     Facility,
25
                                      Defendants-Respondents.
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                                                                     Department of Justice, Civil Division
     NOTICE OF APPEAL                                                  Office of Immigration Litigation
     (Case No. 2:18-cv-00928-MJP)                                     P.O. Box 868 Ben Franklin Station
                                                                           Washington, D.C. 20044
                                                                               (202) 616-4458
              Case 2:18-cv-00928-MJP Document 150 Filed 07/03/19 Page 2 of 3




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            Defendants hereby appeal from the Court’s Order entered April 5, 2019 (ECF no.
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     110) and the Court’s Order entered July 2, 2019 (ECF no. 149) in the above-captioned case to the
 3
     United States Court of Appeals for the Ninth Circuit.
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 5
 6   Dated: July 3, 2019                                 Respectfully submitted,
 7
 8                                                       JOSEPH H. HUNT
                                                         Assistant Attorney General
 9                                                       Civil Division
10
                                                         WILLIAM C. PEACHEY
11                                                       Director
                                                         Office of Immigration Litigation,
12                                                       District Court Section
13
                                                         EREZ REUVENI
14                                                       Assistant Director

15                                                       SARAH STEVENS WILSON
                                                         Assistant United States Attorney
16
17                                                       ARCHITH RAMKUMAR
                                                         Trial Attorney
18
                                                         /s/Lauren C. Bingham
19
                                                         LAUREN C. BINGHAM
20                                                       Trial Attorney
                                                         United States Department of Justice
21                                                       Civil Division
                                                         Office of Immigration Litigation,
22
                                                         District Court Section
23                                                       P.O. Box 868, Ben Franklin Station
                                                         Washington, DC 20044
24                                                       Phone: (202) 616-4458
                                                         Lauren.C.Bingham@usdoj.gov
25
26
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28
                                                                      Department of Justice, Civil Division
     NOTICE OF APPEAL                                                   Office of Immigration Litigation
     (Case No. 2:18-cv-00928-MJP)                                      P.O. Box 868 Ben Franklin Station
                                                                            Washington, D.C. 20044
                                                                                (202) 616-4458
              Case 2:18-cv-00928-MJP Document 150 Filed 07/03/19 Page 3 of 3




 1
                                      CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that on July 3, 2019, I electronically filed the foregoing document
 3
     with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
 4
 5   served this day on all counsel of record via transmission of Notices of Electronic Filing

 6   generated by CM/ECF or in some other authorized manner for those counsel or parties who are
 7   not authorized to receive electronically filed Notices of Electronic Filing.
 8
                                                           /s/Lauren C. Bingham
 9                                                         Trial Attorney
                                                           United States Department of Justice
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28                                                                       Department of Justice, Civil Division
     NOTICE OF APPEAL                                                      Office of Immigration Litigation
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